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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

   UNITED STATES OF AMERICA                       )
                                                  )
                        v.                        )      M.B.D. NO. 06-10427-PBS
                                                  )
   JEFFREY SHIELDS                                )
                                                  )

                                             ORDER

       The Court, pursuant to 18 U.S.C. § 4247(b), hereby ORDERS a psychological

examination and report be conducted of the respondent at the government’s expense. The

examination shall be conducted by Joseph Plaud, Ph.D., 44 Hickory Lane, Whitinsville, MA

01588, email plaud@fdrheritage.org, and the examiner shall file a report pursuant to 18 U.S.C.

§ 4247(c).




                                                        JEFFREY SHIELDS
                                                        By his attorney,

                                                        /s/ Page Kelley
                                                        Page Kelley
                                                          B.B.O. #548237
                                                        Federal Defender Office
                                                        408 Atlantic Avenue, 3rd Floor
                                                        Boston, MA 02110
                                                        Tel: 617-223-8061
October 2, 2007

                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on October 2,
2007.
                                                         /s/ Page Kelley
                                                        Page Kelley
